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UNITED STATES DISTRICT COURT 35 AUQ - f pp 5: 53
FOR THE WESTERN DISTRICT OF TENNESSEE `

  

 

WESTERN DIVISION
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UNITES STATES OF AMERICA,

Plaintiff,

v. Cr. No. 05-20009~B

DARAY AMMON PERKINS,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SENTENCING HEARING

 

F or good cause Shown, the Court hereby GRANT’S the defendant’S motion to continue the

sentencing hearing for (6()) Sixty days in this matter. lt is hereby RESET from Monday, August l,

2005 al 1130 p-m. until]a¢m_dagh&t§¢z+_l_i`, 2005- @ t£):§o a.m.

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Ir is 50 oRDERED, this the [ day af/Q_-»HP_% 2005.

 

URABLE J. DANIEL EEN
UD STATES DIS'I`RICT COURT JUDGE

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Honorable J. Breen
US DISTRICT COURT

